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                                    UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA

Case No: 17-cv-06748-WHO
Case Name: Di-azv. Tesla, Inc.

                              TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                              PLAINTIFF ATTORNEY:                       DEFENSE ATTORNEY:
 William H. Orrick                   Bernard Alexander, Larry Organ,           Tracey Kennedy, Patricia Jeng,
                                     and Cimone Nunley                         and Susan Haines
 TRIAL DATE: 9/27/2021               REPORTER:                                 CLERK:
 Total Time: 4 hrs, 28 mins          Debra Pas                                 Jean Davis
 8:02 a.m. to 1:30 p.m.

 PLF DEF TIME                                                                                  PLF  DEF
 NO. NO. OFFERED              ID    REC DESCRIPTION                                            TIME TIME
         8:02 a.m.                      Court in session; jury out
              8:12 a.m.                    Court in recess to await arrival of jurors
              9:02 a.m.                    Court in session (jurors present);
                                           The Court provides preliminary jury instructions
              9:22 a.m.                    Plaintiff opening statement (Alexander)                 21
              9:43 a.m.                    Suspension of plaintiff statement for technical
                                           issues
              9:47 a.m.                    Resumption of plaintiff opening statement               21
                                           (Alexander)
              10:08 a.m.                   Defense opening statement (Kennedy)                              34
              10:42 a.m.                   Court in recess
              11:00 a.m.                   Court in session (jurors present)
              11:01 a.m.                   Plaintiff direct examination of Tomatsu                 42
                                           Kawasaki (Organ)
 366          11:08 a.m.      X     X      Photos of Tesla Body Center Poster of PPE
                                           Equipment and vending machines; admitted w/o
                                           obj.
 202          11:11 a.m.      X     X      Standard Operating Procedure (SOP): Elevator 1
                                           & 2 - Building Services I Elevator Operators;
                                           admitted w/o obj.
 38           11:15 a.m.      X     X      Kawasaki email re confidential elevator issues
                                           (owen), 8-2-2015; admitted w/o obj.
 40           11:25 a.m.      X     X      Romero email Re Elevator confidential
                                           information, 8-4-2015; admitted w/o obj.
 39           11:26 a.m.      X     X      Romero email re Judy Tibreza
                                           (verbal warning), 8-4-2015; admitted by
                                           stipulation
 222          11:32 a.m.      X     X      Email re Employee Changes, 8-17-2015;
                                           admitted by stipulation

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                                    Case No: 17-cv-06748-WHO
                                   Case Name: Di-az v. Tesla, Inc.
                                     Date: September 27, 2021
      Courtroom Deputy: Jean Davis            - Court Reporter:        Debra Pas

                            EXHIBIT and WITNESS LIST CONTINUED

PLF DEF DATE/TIME                                                                          PLF  DEF
NO. NO. OFFERED    ID REC DESCRIPTION                                                      TIME TIME
104     11:34 a.m. X X    Floorplan schematic; Admitted, Obj. overruled
235          11:38 a.m.     X    X      Email re Ramon, 10-17-2015; admitted w/o obj.
             11:43 a.m.                 Defense cross examination of Tomatsu                      28
                                        Kawasaki (Jeng)
      218    11:56 a.m.     X    X      Email re Confidential Elevator Issues (Owen),
                                        8-2-2015; admitted by stipulation
      30     12:06 p.m.     X    X      Email re Confidential Elevator Issues (Owen),
                                        8-2-2015 - Admitted by stipulation; (duplicate
                                        of Pl. Exh. 235)
             12:11 p.m.                 Plaintiff re-direct of Tomatsu Kawasaki               3
                                        (Organ)
             12:14 p.m.                 Witness excused
             12:15 p.m.                 Jurors excused; matters of courtroom decorum
                                        and procedure discussed
             12:17 p.m.                 Court in recess
             12:33 p.m.                 Court in session (jurors present)
             12:34 p.m.                 Plaintiff direct examination of Ed Romero            49
                                        (Organ)
37           12:52 p.m.     X    X      Romero email Re Confidential elevator issues
                                        (owen), 8-1-2015; Admitted by stipulation
41           12:56 p.m.     X    X      Quintero email re Judy Tibreza (verbal
                                        warning), 8-4-2015; Admitted w/out objection.
240          1:06 p.m.      X    X      Email re Ramon, 10-20-2015; Admitted by
                                        stipulation
33           1:10 p.m.      X    X      Fwd Racist Effigy and Drawing, 1-22-2016;
                                        Admitted by stipulation
106          1:24 p.m.      X    X      Romero email to Jackson Re Personnel Issues;
                                        Obj. overruled, admitted for the limited purpose
                                        of establishing Mr. Romero’s credibility
109          1:27 p.m.      X           Obj. sustained. Admission denied
             1:28 p.m.                  The Court admonishes jurors as to their
                                        responsibilities and excuses them
             1:30 p.m.                  Witness excused; counsel reminded that while
                                        testimony is in progress there should be no
                                        substantive communication with any witness
             1:30 p.m.                  Court in recess




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Initial Time Allotted Plaintiff:     12.0 hours
Time Used by Plaintiff 9/27/2021:    2 hours, 16 minutes
Remaining Plaintiff Time:            9 hours, 44 minutes

Initial Time Allotted Defendant:     12.0 hours
Time Used by Defendant 9/27/2021:    1 hour, 2 minutes
Remaining Defendant Time:            10 hours, 58 minutes




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